
46 So. 3d 625 (2010)
Darshan SPENCER, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-3147.
District Court of Appeal of Florida, First District.
October 15, 2010.
Darshan Spencer, pro se, Petitioner.
*626 Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and Darshan Spencer is hereby afforded belated appeal of the order denying postconviction relief in Leon County case number 2004-CF-714. Upon issuance of mandate in this cause, a copy of the opinion shall be provided to the clerk of the circuit court who shall treat it as a notice of appeal. Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
WEBSTER, DAVIS, and VAN NORTWICK, JJ., concur.
